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                                           No. 19-3025

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                                                                    FILED
                                                                               May 22, 2019
RYAN D. MALONE,                                          )                DEBORAH S. HUNT, Clerk
                                                         )
       Petitioner-Appellant,                             )
                                                         )
v.                                                       )          ORDER
                                                         )
UNITED STATES OF AMERICA,                                )
                                                         )
       Respondent-Appellee.                              )
                                                         )
                                                         )




       Ryan D. Malone, a federal prisoner proceeding pro se, appeals a district court judgment
denying his motion to vacate his sentence under 28 U.S.C. § 2255. Malone has filed an application
for a certificate of appealability (“COA”). See Fed. R. App. P. 22(b). He also moves to proceed
in forma pauperis.
       In 2014, a federal grand jury indicted Malone on one count of being a felon in possession
of a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1). Malone pleaded guilty without
a plea agreement, and the district court sentenced him to 120 months of imprisonment. On appeal,
this court vacated the district court’s judgment and remanded the case for resentencing in light of
Johnson v. United States, 135 S. Ct. 2551 (2015). See United States v. Malone, 646 F. App’x 454,
457-58 (6th Cir. 2016).
       On remand, the district court applied a base offense level of 20 pursuant to USSG
§ 2K2.1(a)(4)(A), based on Malone’s prior conviction for a controlled substance offense. The
district court eventually calculated Malone’s total offense level as 23 with a criminal history
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category of VI, resulting in a guidelines imprisonment range of 92 to 115 months. The district
court varied upward and imposed a sentence of 120 months. On appeal, counsel challenged
Malone’s sentence but declined Malone’s request to challenge whether his prior Ohio drug
trafficking conviction for violating Ohio Revised Code § 2925.03(A)(2) qualified as a “controlled
substance offense” under the Guidelines. This court rejected counsel’s arguments and affirmed
the judgment of conviction and sentence. See United States v. Malone, No. 16-4347 (6th Cir. Sept.
12, 2017) (order).
       In 2017, Malone filed a § 2255 motion and supplements, arguing, in relevant part, that
appellate counsel was ineffective for failing to challenge the application of an enhanced base
offense level under § 2K2.1(a)(4)(A) based on his prior Ohio drug trafficking conviction, in light
of Mathis v. United States, 136 S. Ct. 2243 (2016), and Descamps v. United States, 570 U.S. 254
(2013). The district court denied the § 2255 motion, concluding that appellate counsel was not
ineffective because the proposed claim lacked merit.
       Malone seeks a COA reasserting his argument that the § 2K2.1(a)(4)(A) enhancement was
improper because his prior conviction under § 2925.03(A)(2) does not qualify as a controlled
substance offense. However, Malone does not seek to challenge the district court’s rejection of
the remaining claims asserted in his § 2255 motion and supplements. Therefore, those issues have
been abandoned and will not be reviewed. See Jackson v. United States, 45 F. App’x 382, 385
(6th Cir. 2002).
       A COA may issue “only if the applicant has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2); see Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).
When the district court’s denial is based on the merits, “[t]he petitioner must demonstrate that
reasonable jurists would find the district court’s assessment of the constitutional claims debatable
or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).              For Malone’s sole remaining
constitutional claim of ineffective assistance of appellate counsel, he must first show that his
counsel was objectively unreasonable, then he must show prejudice—“a reasonable probability
that, but for his counsel’s unreasonable failure . . . , he would have prevailed on his appeal.” Smith
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v. Robbins, 528 U.S. 259, 285 (2000); see Strickland v. Washington, 466 U.S. 668, 687–91 (1985).
To show ineffective assistance when appellate counsel presents one argument instead of another,
“the petitioner must demonstrate that the issue not presented ‘was clearly stronger than issues that
counsel did present.’” Caver v. Straub, 349 F.3d 340, 348 (6th Cir. 2003) (quoting Smith, 528
U.S. at 288).
       Malone argues that, in light of Mathis, his prior Ohio drug trafficking conviction does not
qualify as a controlled substance offense. A controlled substance offense is defined as:
       [A]n offense under federal or state law, punishable by imprisonment for a term
       exceeding one year, that prohibits the manufacture, import, export, distribution, or
       dispensing of a controlled substance (or a counterfeit substance) or the possession
       of a controlled substance (or a counterfeit substance) with intent to manufacture,
       import, export, distribute, or dispense.

USSG § 4B1.2(b); see § 2K2.1, comment (n.1). To determine if a prior conviction qualifies as a
controlled substance offense, a reviewing court employs a “categorical approach” that compares
the statutory definition of the crime with the definition of a controlled substance offense. United
States v. Woodruff, 735 F.3d 445, 449 (6th Cir. 2013). When an offense contains alternative
elements, it is divisible, and a “modified categorical approach” may be used to ascertain which
version of a particular crime a defendant committed. Descamps, 570 U.S. at 261–63. Under the
modified categorical approach, courts review “a limited class of documents (for example, the
indictment, jury instructions, or plea agreement and colloquy) to determine what crime, with what
elements, a defendant was convicted of.” Mathis, 136 S. Ct. at 2249. However, when an offense
does not list alternative elements but instead contains alternative means of committing a single
element, that offense is not divisible and thus not subject to the modified categorical approach. Id.
at 2251.
       Malone contends that § 2925.03(A)(2)’s definition of sale is broader than the federal
definition because it includes mere transporting offenses. The statute provides that no person
shall knowingly:
       Prepare for shipment, ship, transport, deliver, prepare for distribution, or distribute
       a controlled substance or a controlled substance analog, when the offender knows
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       or has reasonable cause to believe that the controlled substance or a controlled
       substance analog is intended for sale or resale by the offender or another person.

Ohio Rev. Code § 2925.03(A)(2). This court has previously determined that a conviction under
§ 2925.03(A)(2) is a controlled substance offense because it “includes an element of ‘manufacture,
important, export, distribution, or dispensing,’ or intent to do those things,” such that it “falls
within the ambit of U.S.S.G. § 4B1.2(b).” United States v. Robinson, 333 F. App’x 33, 36 (6th
Cir. 2009); see also United States v. Wright, 43 F. App’x 848, 853 (6th Cir. 2002).
       But we have not decided, post-Mathis, whether § 2925.03(A)(2) is a divisible or indivisible
statute. Arguably, the prohibited actions in § 2925.03(A)(2) are a list of alternative means, not
alternative elements, of committing the offense of drug trafficking. If the statute is indivisible, we
must consider whether an offense that includes as a means of its commission “transport . . . [of] a
controlled substance . . . when the offender knows or has reasonable cause to believe that the
controlled substance . . . is intended for sale or resale by the offender or another person,” Ohio
Rev. Code § 2925.03(A)(2) (emphasis added), falls under the definition of a controlled substance
offense, which requires “intent to manufacture, import, export, distribute, or dispense.” USSG
§ 4B1.2(b). Under the Ohio statute, an offender may transport a drug with “reasonable cause to
believe” that another person might sell the drug, which may not categorically qualify as a drug
trafficking offense. Ohio Rev. Code § 2925.03(A)(2). Malone’s argument that the Ohio drug
trafficking statute is broader than the federal controlled substance offense is therefore not wholly
without merit.
       Malone’s appellate counsel raised two issues—that Malone’s sentence was improperly
enhanced under USSG § 2K2.1(b)(6)(B) and that his sentence was unreasonable based on the
district court’s giving unreasonable weight to his criminal history. Both arguments involved a
deferential standard of review:      clear error for the factual determination surrounding the
§ 2K2.1(b)(6)(B) enhancement and abuse-of-discretion for sentencing reasonableness.               See
Malone, No. 16-4347 (6th Cir. Sept. 12, 2017) (order); see also United States v. Taylor, 648 F.3d
417, 432 (6th Cir. 2011); United States v. Robinson, 778 F.3d 515, 518 (6th Cir. 2015). This court
previously noted that the two arguments made on direct appeal were not supported by the record
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or by any authority. Malone, No. 16-4347 (6th Cir. Sept. 12, 2017) (order). By contrast, we review
de novo legal conclusions regarding application of Guideline provisions, United States v.
Montanez, 442 F.3d 485, 488 (6th Cir. 2006), and there is no binding authority foreclosing
Malone’s Mathis argument. We therefore find that the Mathis argument was “clearly stronger”
than the two arguments presented, Caver, 349 F.3d at 348, and “jurists could conclude the issues
presented are adequate to deserve encouragement to proceed further.” Miller-El, 537 U.S. at 327.
Malone has “made a substantial showing of the denial of a constitutional right” to the effective
assistance of counsel. 28 U.S.C. § 2253(c)(2).
       Accordingly, Malone’s application for a COA is GRANTED, and the motion to proceed
in forma pauperis is GRANTED. Pursuant to the court’s authority under 18 U.S.C. § 3006A, it is
ORDERED that counsel be appointed to represent Malone on appeal.


                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk
